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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                    CASE NO.: 21-14911-BKC-LMI
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CARLOS PRADA
ANAYS MESTRE

_____________________________/
DEBTORS

                      NOTICE OF CONTINUED CONFIRMATION HEARING
                        AND TRUSTEE'S OBJECTION TO EXEMPTIONS

    YOU ARE HEREBY NOTIFIED that the Confirmation Hearing and the Trustee's Objection to
Exemptions has been continued to December 01, 2021 at 01:35 pm. The hearing will be conducted by
video conference. For instructions, please refer to the General Procedures for Hearings By Video
Conference on the Court’s website. To participate in the hearing, you must register for the video
conference no later than 3:00 pm one business day before the date of the hearing. To participate, click on
the     following link or manually enter the                   following link in a browser:
https://www.zoomgov.com/meeting/register/vJItduiqqz4iGPWRbYC6YTes9xqj5mxBNU4

    I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued
Confirmation Hearing and the Trustee's Objection to Exemptions was mailed to those parties listed below
on this 16th day of November, 2021.



                                                         /s/ Nancy K. Neidich
                                                        _____________________________________
                                                         NANCY K. NEIDICH, ESQUIRE
                                                         STANDING CHAPTER 13 TRUSTEE
                                                         P.O. BOX 279806
                                                         MIRAMAR, FL 33027-9806
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                   NOTICE OF CONTINUED CONFIRMATION HEARING AND TRUSTEE'S OBJECTION TO EXEMPTIONS
                                                                          CASE NO.: 21-14911-BKC-LMI

                                        SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTORS
CARLOS PRADA
ANAYS MESTRE
7955 SW 110TH ST
MIAMI, FL 33156

ATTORNEY FOR DEBTORS
SAMIR MASRI, ESQUIRE
901 PONCE DE LEON BLVD
SUITE 101
CORAL GABLES, FL 33134

SAMIR MASRI, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
